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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CYNTHIA TAYLOR                               :       CIVIL ACTION
                                             :
                                             :
                                             :
                        v.                   :
                                             :
CURTIS LYNN MYERS                            :       NO. 22-cv-3674
                                             :
                                             :

                                        ORDER


       AND NOW this 8th day of May 2023, after a conference with all parties participating, it

is hereby ORDERED that Plaintiff’s Motion to prevent defense IMEs, submit reports and obtain

additional medical records is extended as follows:

       5/31/23 Neurology IME

       6/13/23 Orthopedic IMEs

       6/30/23 Reports from Defendant’s experts

       7/31/23 Responsive reports from Plaintiffs

       8/14/23 11:00 a.m. In Person Settlement Conference

       Admissibility of said discovery will be determined before or at the time of trial. Failure

to adhere to this schedule may result in sanctions or exclusion of evidence.

                                             BY THE COURT:


                                             /s/ Carol Sandra Moore Wells
                                             CAROL SANDRA MOORE WELLS
                                             UNITED STATES MAGISTRATE JUDGE
